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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

FORT MYERS DIVISION
UNITED STATES OF AMERICA, _)
)
v. ) Case No. 2+49-myp-t698- NPI
CRAIG AUSTIN LANG,
Defendant. 2 19 -~de-1T -rem-

AFFIDAVIT IN SUPPORT OF REQUEST F OR EXTRADITION

I, Jesus M. Casas, being duly sworn, depose and state:

1. Llama citizen of the United States of America and a resident of Florida.

2. From November 2002 until the present, I have worked for the United States
Department of Justice as an Assistant United States Attorney for the Middle District of
Florida. I prosecute persons charged with criminal violations of the laws of the United
States. I have been a practicing attorney since 1998, and have been a federal prosecutor in
the Middle District of Florida since 2002. As an Assistant United States Attorney, 1
prosecute a variety of federal offenses, including offenses involving Interference with .
Commerce by Violence, Conspiracy, and the Carrying and Use of a Firearm During and in
Relation to a’Crime of Violence. During my practice as an Assistant United States Attorney,
I have become knowledgeable about the criminal laws and procedures of the United States.

3. Asan Assistant United States Attorney for the Middle District of Florida, Iam

responsible for the preparation and prosecution of criminal cases. In the course of my duties,
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I have become familiar with the charges and evidence in the case of United States v. Craig
Austin Lang, et al., Criminal Case No. 2:19-mj-1098-NPM.

PROCEDURAL HISTORY OF THE CASE

4. On August 16, 2019, United States Magistrate Judge Nicholas P. Mizell issued
an arrest warrant for CRAIG AUSTIN LANG based upon a Criminal Complaint and
supporting affidavit that established probable cause for the commission of violations of United
States laws relating to Conspiracy to Interfere with Commerce by Violence; Interference with
Commerce by Violence; Conspiracy to Carry and Use a Firearm During and in Relation to a
Crime of Violence; and Use and Discharge of a Firearm During and in Relation to Crime of
Violence Resulting in Death. A Criminal Complaint is a written statement of the essential
facts constituting the offenses charged. The Complaint must be made under oath before a
United States Magistrate Judge. After a Criminal Complaint is reviewed and approved, the
court will normally issue a warrant for the arrest of the defendant, if he or she is not yet: in
custody.

5. A certified true and correct copy of the Criminal Complaint against CRAIG
AUSTIN LANG in the criminal case titled United States of America v. CRAIG AUSTIN LANG,
et al., Case No. 2:19-mj-1098-NPM, is attached as Exhibit 1. On August 16, 2019, United
States Magistrate Judge Nicholas P. Mizell, of the United States District Court for the Middle
District of Florida issued a warrant for the arrest of CRAIG AUSTIN LANG for the crimes
set forth in the Criminal Complaint. United States Magistrate Judge Mizell is authorized

and empowered under the laws of the United States to issue arrest warrants. A certified true

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and correct copy of the Warrant for Arrest for CRAIG AUSTIN LANG is attached hereto as
Exhibit 2.

6. The copies of the Criminal Complaint and Warrant for Arrest attached hereto as
Exhibits 1 and 2 are certified by a Deputy Clerk of the Court of the United States District
Court for the Middle District of Florida. A Deputy Clerk of the Court is an officer of the
Court and is authorized under the laws of the United States to certify court documents to be
true and accurate copies of the originals. These certified copies bear the seal of the United
States District Court for the Middle District of Florida.

The Charges and Pertinent United States Law

7. In the Criminal Complaint, CRAIG AUSTIN LANG is charged with |
Conspiracy to Interfere with Commerce by Violence; Interference with Commerce by
Violence; Conspiracy to Carry and Use a Firearm During and in Relation to a Crime of
Violence: and Use and Discharge of a Firearm During and in Relation to Crime of Violence
Resulting in Death. Under United States law, a conspiracy is simply an agreement to
commit one or more “substantive” criminal offenses, referred to as the purpose or object or
objective of the conspiracy. The crime of conspiracy is an independent offense, separate and
distinct from the commission of any substantive offense. Under United States law, a person
can be charged with conspiracy if (1) two.or more persons entered an agreement to commit
one or more substantive offenses; (2) the defendant knowingly and intentionally became a
member of the conspiracy to commit at least one of the substantive offenses; and (3) that at

least one co-conspirator committed at least one over act in furtherance of the conspiracy. An ~

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overt act is any action taken to further the objective of the conspiracy, and need not itself be
a criminal act.
a. Conspiracy to Interfere with Commerce by Violence

The objective of the conspiracy to interfere with commerce by violence charged in the
Criminal Complaint is robbery, in violation of Title 18, United States Code, Section 1951(a).
Section 1951(a) makes it illegal for a person to conspire in any way or degree to obstruct,
delay, or affect commerce or the movement of any article or commodity in commerce by
robbery, or to conspire to commit or threaten physical violence to any person in furtherance
of a plan or purpose to interfere with commerce by robbery. Under Section 1951(b), robbery
means the unlawful taking or obtaining of personal property from the person or in the
presence of another, against his will, by means of actual or threatened force, or violence, or
fear of injury, immediate or future, to his person or property, or property in his custody or
possession, or the person or property of a relative or member of his family or of anyone in his
company at the time of the taking or obtaining. The relevant definition of commerce is defined
by Section 1951(c) as all commerce between any point in a State and any point outside thereof,
all commerce between points within the same State through any place outside such State, and
all other commerce over which the United States has jurisdiction.

On or about April 9, 2018, LANG and his coconspirator, Alex Jared Zwiefelhofer,
both of whom had traveled to Florida from outside the State of Florida, agreed to commit a
crime of violence, namely robbery using a firearm, of persons who responded to an

advertisement posted on the internet that proposed the sale of a number of firearms. Neither.
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LANG nor Zwiefelhofer actually intended to sell the firearms; rather, they planned to rob the
persons at gunpoint and take any United States currency in their possession. On April 9, 201 8,
one of the victims, S.L., withdrew $3000 from his bank account and traveled on an interstate
highway to meet LANG and Zwiefelhofer for the purpose of completing the fireams
transaction. However, rather than completing the sale, LANG and Zwiefelhofer robbed the
victim of the $3000 and shot and killed the victim and his companion, who was also present
for the transaction. The Criminal Complaint charges that LANG and Zwiefelhofer
“ conspired to interfere with commerce by violence in violation of Title 18, United States Code,
Section 1951(a), which is a felony offense under United States law.
b. Interference with Commerce by Violence

The Criminal Complaint also charges a substantive violation of interference with
commerce by violence, in violation of Title 18, United States Code, Sections 1951(a) and 2.
Section 1951(a) makes it illegal for a person to in any way or degree obstruct, delay, or affect
commerce or the movement of any article or commodity in commerce by robbery, or to
‘commit or threaten physical violence to any person in furtherance of a plan or purpose to .
interfere with commerce by robbery. Under Section 1951(b), robbery means the unlawful
taking or obtaining of personal property from the person or in the presence of another, against
his will, by means of actual or threatened force, or violence, or fear of injury, immediate or |
future, to his person or property, Or property in his custody or possession, or the person or
property of a relative or member of his family or of anyone in his company at the time of the

taking or obtaining. The relevant definition of commerce is defined by Section 1951(c) as all
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commerce between any point in a State and any point outside thereof, all commerce between
points within the same State through any place outside such State, and all other commerce
over which the United States has jurisdiction.

On or about April 9, 2018, LANG and Zwiefelhofer committed an armed robbery of
5.L., a person who was interested in purchasing firearms for resale. LANG and
Zwiefelhofer had listed the firearms for sale on an internet website (Armslist) dedicated to the
sale of firearms and other firearm paraphernalia. The internet is an instrumentality of
commerce. Rather than conducting the firearms transaction, LANG and Zwiefelhofer
robbed S.L. of the $3,000 in United States currency and killed S.L. and D.L. during the course
of the robbery. By robbing and killing S.L. and D.L., LANG and Zwiefelhofer interfered with
commerce by robbery, which is a crime of violence. The Criminal Complaint charges that
LANG and Zwiefelhofer interfered with commerce by violence in violation of Title 18,
United States Code, Sections 1951(a) and 2, which is a felony under United States law. Title
18, United States Code, Section 2 provides that whoever aids or abets the commission of an
offense against the United States, or willfully causes an act to be done which if directly.
performed by him or another would be an offense against the United States, is punishable as
a principal.

Cc. Conspiracy to Carry and Use a Firearm During and in Relation to a

Crime of Violence
The objective of the conspiracy to carry and use a firearm during and in relation to a

crime of violence charged in the Criminal Complaint is to use and discharge a firearm during

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and in relation to a crime of violence resulting in the death of a person, in violation of Title
18, United States Code, Sections 924(c)(1)(A)(iii) and (0).

On or about April 9, 2018, LANG and Zwiefelhofer agreed to commit the robbery of
S.L. by using and carrying a firearm. Robbery is a crime of violence under United States law.
LANG and Zwiefelhofer agreed with each other to rob S.L. of $3,000 in United States
currency that S.L. was going to bring to the firearms transaction, and to discharge a firearm
and kill S.L. Both LANG and Zwiefelhofer used and carried a firearm during and in relation
to the robbery of S.L. to effect its purpose. The Criminal Complaint charges that LANG
and Zwiefelhofer conspired to use and carry a firearm during and in relation to a crime of
violence in violation of Title 18, United States Code, Section 924(c)(1)(A)(iil) and (0). This is
a felony offense under United States law.

d. Using and Discharging a Firearm During a Crime of Violence Resulting
in Death

The Criminal Complaint further charges a substantive violation of using and
discharging a firearm during and in relation to a crime of violence, resulting in the death of a’
person, in violation of Title 18, United States Code, Sections 924(c)(1)(A)(iii) and (j).

Section 924(c)(1)(A) makes it illegal for a person to use or carry a firearm during and
in relation to any crime of violence that may be prosecuted in a court of the United States.
Interference with Commerce by Violence, which includes robbery as defined above, is a crime
of violence that may be prosecuted in a court of the United States. Subsection (iii) provides

for a 10-year mandatory minimum term of imprisonment if the firearm is discharged during
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the crime of violence. Further, if in the course of a violation of Section 924(c)(1)(A)-a person
is murdered, the offense is punishable by death or any term of years or for life under Title 18,
_ United States Code, Section 924(j). Using and discharging a firearm during and in relation to
a crime of violence, which resulted in the death of a person, is a felony under United States
law. .

On or about April 9, 2018, LANG and Zwiefelhofer robbed S.L. of $3,000 at gunpoint.
During that robbery, which is a crime of violence that may be prosecuted in a United States
court, LANG and Zwiefelhofer did use and discharge multiple firearms that resulted in the
deaths of S.L. and D.L.

The violations of federal law alleged in the Criminal Complaint are all felonies under
United Stateslaw. Each of these statutes and regulations was duly enacted law of the United
States at the time the offenses were committed, at the time the United States Magistrate Judge.
authorized the Criminal Complaint and issued the arrest warrants, and are now in effect.
Copies of these statutes are attached as Exhibit 3.

8. The maximum sentence that can be imposed upon conviction for each offense
described in the Criminal Complaint and the above paragraphs of this Affidavit is as follows:

a. Conspiracy to Interfere with Commerce by Violence — up to 20
years’ imprisonment, a fine of up to $250,000, and a term of

supervised release following imprisonment of up to three years;
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b. Interference with Commerce by Violence — up to 20 years’
imprisonment, fine of up to $250,000, and a term of supervised
release following imprisonment of up to three years;

Cc. Conspiracy to Carry and Use a Firearm During and in Relation
to a Crime of Violence — up to 20 years’ imprisonment, a fine of
up to $250,000, and a term of supervised release following
imprisonment of up to three years; and

f. Use and Discharge of a Firearm During the Commission of a
Crime of Violence Resulting in Death — Death or a minimum
mandatory term of imprisonment of 10 years up to any term of
years or life imprisonment, a fine of up to $250,000, and a term
of supervised release following imprisonment of up to five years.

9. Title 18, United States Code, Sections 3281 and 3282 set forth the
statutes of limitation governing the prosecutions of these offenses charged in the Criminal
Complaint’. The criminal offenses charged in the Criminal Complaint in this case
occurred in April 2018. Since the offenses occurred less than five years ago, prosecution of
these offenses is not barred by either of the statutes of limitation.

10. Section 3281 provides:

' A criminal complaint is the charging instrument that commonly precedes an indictment
when a defendant is the subject of an arrest warrant. A criminal complaint is governed by
the same statutory limitations as an indictment. The United States will seek an indictment
of Lang and Zwiefelhofer in the near future.
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An indictment for [Use and Discharge of a Firearm During the Commission of a
Crime of Violence Resulting in Death in violation of 18 U.S.C. § 924(j)(1)] may be

found at any time without limitation.

Section 3282 provides:

Except as otherwise expressly provided by law, no person shall be prosecuted, tried, .

or punished for (all other offenses charged in the Criminal Complaint], unless the

indictment is found or the information is instituted within five years next after such

offense shall have been committed.

SUMMARY OF FACTS OF THE CASE

11. On April 10, 2018, two persons, S.L. and D.L.,? were found dead in Estero,
Florida from apparent gunshot wounds to the head and body. Further investigation revealed
that S.L. and D.L. had traveled to Estero from Brooksville, Florida to complete the purchase
of several firearms from a person who listed them for sale on a website known as Armslist.
The anticipated purchase price of the firearms was $3,000 in United States currency. Upon
purchasing the firearms, S.L. planned to re-sell the firearms for a profit. S.L. withdrew
$3,000 from his financial institution on the day of the murders to complete the transaction,

but the $3,000 was not located at the crime scene. Alex Jared Zwiefelhofer? and Craig

2 The identity of the victims are not being disclosed for privacy purposes and in accordance with :
the common practice of the United States Attorney’s Office for the Middle District of Florida.

3 Zwiefelhofer is currently under arrest and in custody in the United States on unrelated
charges.

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Austin LANG, were subsequently identified as the persons who were believed to have
murdered S.L. and D.L. while robbing them of the $3,000.

12. On April 10, 2018, at approximately 7:30 a.m., an employee of a business in a
commercial plaza discovered the bodies of $.L. and D.L. in the parking lot of the commercial
plaza. S.L. was found deceased on the ground outside of his vehicle, with his wallet, cellular
telephone and paperwork located around him. D.L. was sitting deceased in the passenger
side of the vehicle. Detectives searched the cellular telephone of S.L. that was found at the
scene of the murders and determined that $.L. had been in communication with a person
using telephone number 786-747-9856, with the intent of purchasing the firearms that were
listed on the Armslist website. These communications were primarily via text and had taken
place on April 9, 2018. Telephone number 786-747-9856 did not have a subscriber identity,.
but was being used by a unique cellular telephone device that was linked to another cellular
telephone number. Law enforcement agents believe that the same cellular device was used
to communicate with two different phone numbers through the use of two different SIM cards’
which were switched on April 7, 2018. SIM card contained within cellular telephones can
be changed but still carry a unique identification number.

13. Further investigation of telephone number 786-747-9856 revealed that it was
being used by a cellular telephone that also had been using another telephone number until
April 7, 2018. That prior telephone number, 715-404-0337, was subscribed to Alex Jared
Zwiefelhofer. Cellular tower activation data for 715-404-0337 revealed that the cellular

device using that phone number had traveled down to Florida in early April 2018 from the

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State of Wisconsin. Zwiefelhofer resided in the State of Wisconsin. Additionally, the
cellular tower data revealed that the cellular telephone using telephone number 715-404-0337
was located in the Miami, Florida area between April 4 and April 9, 2018.

14. Detectives reviewed Zwiefelhofer’s cellular telephone records for telephone
number 715-404-0337 and determined that Zwiefelhofer was in contact with Craig Austin
LANG in March of 2018. LANG’s cellular telephone number, 480-678-7349, was identified
and cellular tower activation data revealed that LANG traveled to the State of Florida from
the State of Arizona and arrived in Miami, Florida during the same time that Zwiefelhofer
was in Miami. Telephone number 480-678-7349, used by LANG, and telephone number
786-747-9856 were traveling around the Miami area together.

15. LANG paid for a hotel room where detectives learned that Zwiefelhofer and
LANG stayed while in Miami. LANG also paid for a rental vehicle that was rented from
April 7-10, 2018. The rental vehicle contained a road toll transponder that indicated that the
vehicle had traveled from Miami, Florida towards Estero, Florida in the late evening hours
of April 9, 2018 and then returned to Miami in the early morning hours of April 10, 2018.

16. Records of online communications were obtained for Zwiefelhofer and LAN G.
Those communications revealed that Zwiefelhofer and LANG had planned to travel to
Miami, Florida. Both Zwiefelhofer and LANG were planning to travel from Miami, Florida
to South America to fight against the Venezuelan government. LANG advised that he was.
traveling with 9mm ammunition and Glock 17 magazines to Florida in furtherance of their

plan. Zwiefelhofer and LANG also discussed checking out a military surplus store in

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Miami, committing robberies, stealing a vessel and attempting to travel to South America
undetected.

17. Additional communications between LANG and another subject, M.M.,
revealed that M.M. was also supposed to travel to Florida to meet with LANG with the intent
to travel overseas. However, prior to arriving in Florida, M.M. was arrested and detained.
Subsequent to M.M.’s release from custody in July 2018, M.M. met with LANG and traveled
throughout the United States with LANG. M.M. observed that LANG was in possession
of two Glock firearms and one rifle which LANG provided to a person in exchange for that
person’s identification information. LANG intended to use the identification information
to obtain a U.S. passport to travel overseas, however, he was unable to do so.

18. During M.M.’s travel with LANG, LANG stated that he and another person
killed “the boat captain” who was supposed to take them all to South America from Miami
when “the boat captain” refused to return the money they had paid for the travel. LANG
indicated that he and the other person “from Wisconsin” emptied their clips of ammunition
during the killing. The scene of the murders of $.L. and D.L. contained over sixty (60)
ammunition casings, almost all of which were 9mm in caliber. Of the casings, five (5) were
stamped “LC-17” and were rifleammunition. The 9mm casings were examined forensically
and determined to originate from either a Glock or Smith and Wesson firearm. S.L., who
was standing outside of his vehicle with the paperwork to purchase the firearms, was shot:

seven (7) times and D.L., who was seated in the passenger side of the vehicle used to travel

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to the location, was shot eleven (11) times. The cause of death for S.L. and D.L. was the
result of multiple gunshot wounds.

19. Records of online searches conducted by Zwiefelhofer revealed that he had
searched for: (1) Miami Armsilist; (2) Classified Miami Handguns; (3) Hotwire boat ignition
switch; (4) cheapest hotels Miami; and (5) how to smuggle myself to South America. The
Armslist posting for the firearms that S.L. and D.L. traveled to Estero to purchase was created
on April 7, 2018 and was associated with telephone number 786-747-9856. This was the
same day that LANG had purchased the new SIM card in Miami that was then switched into
the cellular device believed to be used by Zwiefelhofer. Telephone number 786-747-9856
was used exclusively to communicate to set up the transaction that resulted in the robbery
and murders of S.L. and D.L. on April 9, 2018.

20. On May 23, 2018, LANG sold fifty (50) firearm magazines, approximately 550
rounds of LC-17 rifle ammunition, a 5.56mm lower receiver, a Wilson AR 5.56 receiver, a
ADE 5.56 upper receiver and other items for $1,500. These items were sold at a pawn shop
in Seattle, Washington. Of the items that LANG sold, the two lower receivers and one
upper receiver were consistent with those that were offered for sale in the Armslist posting..
The LC-17 rifle ammunition was of the same type that was recovered at the scene of the
murders of S.L. and D.L.

21. On May 23, 2019, Zwiefelhofer was arrested in Wisconsin for an unrelated
federal firearms offense. A search of Zwiefelhofer’s residence resulted in the discovery of a

laptop computer in Zwiefelhofer’s bedroom that was further forensically analyzed. The

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laptop computer contained electronic data that revealed the creation of the Armslist posting
on April 7, 2018 that was the subject of the investigation. The laptop computer's operating
system login was “Craig”, the first name of LANG.

22. Following his arrest, Zwiefelhofer was interviewed by law enforcement agents
and he voluntarily agreed to answer questions. Zwiefelhofer admitted that he traveled to
Florida with the purpose of continuing to travel to Venezuela to be a combatant. In
addition, Zwiefelhofer admitted that he and LANG were together in Miami; that LANG was
in possession of firearms; and that Zwiefelhofer purchased a phone at a store in Miami.
Zwiefelhofer denied any knowledge about the Armslist posting or having traveled to Estero,
Florida to conduct a firearms transaction. Zwiefelhofer also admitted to being with LANG
in Seattle, Washington when LANG sold firearms and other items in a pawn shop.

DESCRIPTION OF THE FUGITIVE

23. CRAIG AUSTIN LANG isa USS. citizen, born on April 20, 1990, in the State
of North Carolina. He is a white male, 6 feet 2 inches (187.96 cm) tall, weighing 185 pounds
(83.91kg), with blond hair and blue eyes.

A compilation of photographs of CRAIG AUSTIN LANG are attached to this
affidavit as Exhibit 4. These photographs were obtained from LANG’s Arizona driver’s
license record, his current Facebook page, and another driver’s license that LANG obtained
in Virginia in 2018. According to FBI Special Agent James M. Roncinske, Agent Roncinske
is aware that the person in the attached photographs is the same person who committed the

crimes charged in the Criminal Complaint based upon the evidence. gathered during the.

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investigation that began on April 10, 2018. Specifically, based upon records obtained from
the rental car company, FBI Special Agent Roncinske identified LANG as the person who
used his Arizona driver’s license to rent the vehicle in Miami that was used in furtherance of
his criminal activity. Additionally, based upon records obtained from the pawn shop in
Seattle, Washington, LANG used his Arizona driver’s license, which was photocopied, when
he sold the firearm receivers and ammunition. Finally, FBI Special Agent Roncinske
observed photographs posted by LANG to his Facebook page that depicted him with
Zwiefelhofer on the Greyhound bus traveling to Miami, as well as in the hotel room in Miami.

CONCLUSION

24. I have attached the following documents in support of this extradition of

CRAIG AUSTIN LANG:
a. Exhibit 1: A certified true and accurate copy of the Criminal Complaint.
b. Exhibit 2: A certified true and accurate copy of the arrest warrant for CRAIG
AUSTIN LANG.
c. Exhibit 3: True and accurate copies of the applicable criminal statutes and
regulations.

d. Exhibit 4: Photographs of CRAIG AUSTIN LANG

25. If Ukrainian authorities or a Ukrainian court believes that additional
information is needed in support of this extradition request after the submission of this
request, the United States, (through the Department of Justice, Office of International A ffairs)

hereby requests that it be given notification of any perceived deficiencies immediately, and:

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that the United States be given an opportunity to supplement its request for extradition within
a reasonable time period.
26. This affidavit was sworn before a United States Magistrate Judge legally

authorized to administer an oath for this purpose.

I swear under penalty of perjury that the foregoing is true and correct.

Jesus M. Casas
ssistant United States Attorney

Signed and sworn to before me this OALs day of August, 2019 in Fort Myers,

Florida.
cant States E14 J udge

Middle District of Florida

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